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IN THE UNITED STATES DISTRICT COURT co pee, . a
FOR THE DISTRICT OF NEW MEXICO Ss a ee

 

CARL WILSON, an individual, Case No. CIV 94 892 JC

and AUDREE WILSON, an

individual,
Plaintiffs, DECLARATION OF DEBORAH DROOZ IN
SUPPORT OF PLAINTIFFS’
Vv. MEMORANDUM IN OPPOSITION TO

DEFENDANT HARPERCOLLINS’ MOTION
HARPERCOLLINS PUBLISHERS, FOR SUMMARY JUDGMENT

INC., a Delaware corporation,

Defendant.

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I, DEBORAH DROOZ, declare:

1. I am an attorney at law duly licensed to practice
before all courts of the State of California and am a principal
of the law firm of Langberg, Cohn & Drooz, formerly known as
Langberg, Leslie & Gabriel, attorneys of record herein for
Plaintiffs Audree Wilson and Carl Wilson. The matters set forth
in this declaration are known to me of my personal knowledge, and
if called as a witness, I could and would competently testify to
then.

2. From late August 1992 until November of that year, I
engaged in a series of telephone conversations and exchange of

correspondence with HarperCollins’ attorney Michael E. Martin.

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Those conversations concerned the book "Wouldn’t It Be Nice",

purportedly by Brian Wilson with Todd Gold, the hardcover edition
of which was published in October 1991.

3. The purpose of our discussions was two-fold. First, I
was responding to HarperCollins’ request that we provide it with
a list of specific passages from the book which contained false
and defamatory material regarding our clients Carl and Audree
Wilson. Second, I was attempting to negotiate an agreement
whereby HarperCollins would delete some or all of the offending
material from its proposed paperback edition of the book.

4. During the course of our negotiations, Mr. Martin
agreed, on behalf of HarperCollins, to delete numerous
complained-of passages, including the portions of the book
relating to Carl Wilson’s alleged insensitivity to Brian Wilson’s
physical and mental health, and his alleged objection (also
stemming from his alleged indifference to Brian’s physical and
emotional condition) to Dr. Landy’s fees.

5. Mr. Martin also agreed that HarperCollins would delete
many of the defamatory statements which falsely portrayed Audree
Wilson as failing to intercede on her son’s behalf while flagrant
child abuse occurred in her presence, and falsely depicted her as
having a serious drinking problem.

6. My discussions with Mr. Martin came to an end in
November of 1992 when he advised me that HarperCollins had
decided against publishing a paperback edition of the book.
Although I requested that Mr. Martin continue our discussions on

the issue of the harm already sustained as a result of the

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publication of the hardback edition, he did not respond to this

request.
I declare under penalty of perjury under the laws of the
United States of America that the foregoing is true and correct.

Executed this 26th day of September, 1995, at Los Angeles,

California.

 

 

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